Case 2:05-cv-O20l7-SHI\/|-dkv Document 28 Filed 08/19/05 Page 1 of 2 Page|D 26

 

IN THE UNITED sTATEs DIsTRIcT coURT F"'ED B`f D(.
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FoR THE wEsTERN DISTRICT oF TENNESSEE 85 h '
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JoE wILLIAM FORD, JR., WLS

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V’D 9 ' MFE#;FI>CO‘M
Plaintiff,
v. No. 05-2017 Ma/V

CITY OF MEMPHIS, et al.,

v-._¢~._¢'~..¢\_d\_¢v-.d'~_r

Defendants.

 

ORDER TO SHOW CAUSE

 

Before the Court is defendant City of Memphis’ July 13, 2005,
“Motion to Dismiss Amended Complaint.” Plaintiff has not yet
responded to the motion, and the time for response has passed.
Plaintiff is hereby ordered to show cause within eleven (ll) days
from the date of this order as to why Defendant’s motion should not

be granted.

So ordered this l3}['\day of August 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CV-02017 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

ESSEE

 

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CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

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Honorable Samuel Mays
US DISTRICT COURT

